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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 JOHN CANCELINO, individually, and
 as the class representative of others
 similarly situated

          Plaintiff,                                 Case No: 8:19-cv-01810-JSM-SPF
 vs.

 TENSSOURCE, LLC,
 A Florida Registered Limited
 Liability Company, and
 NICHOLAS EXARHOS, individually.

       Defendants.
_______________________________________________/

                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Defendants, TENSSOURCE, LLC and NICHOLAS EXARHOS (“Defendants”), by and

through their undersigned attorney, moves for summary judgment pursuant to Federal Rule of

Civil Procedure 56 against Plaintiff JOHN CANCELLINO (“CANCELINO” or “Plaintiff”), and

as grounds therefore states as follows:

         I.     PROCEDURAL BACKGROUND

         In this action, Plaintiff filed a four (4) count Amended Complaint alleging minimum

wage violations under the Fair Labor Standards Act (“FLSA”) (Count I), unpaid overtime under

the FLSA (Count II), for unpaid commissions (Count III), and for retaliation (Count IV). On July

7, 2020, Defendants filed their Answer and Affirmative Defenses. On April 13, 2020, Plaintiff’s

deposition was taken by defense counsel.

   II.        STATEMENT OF FACTS
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        Plaintiff worked for Defendants from approximately October 10, 2017 until January 14,

2019 as a commissioned sales manager selling medical devices in Florida, Texas and other states

in the southeast. Plaintiff and Defendants entered into an employment contract dated November

27, 2017. (Exhibit A). The contract sets forth the terms of the employment agreement, including

the commission schedule to be earned by the Plaintiff for the sale of certain medical devices.

During his employment the Plaintiff consistently sold medical devices below the agreed upon

market value for the device. (Pl’s Depo. at p. 25, l. 25 to p. 26, l. 4). In fact, none of Plaintiff’s

sales were for the fair market value of the equipment he sold and he always took less than the

full amount of commission and he always proportionately reduced his commissions. (Pl’s Depo.

p. 47, l. 5-8; p. 24, l. 10-25). Although he received a proportional reduction in his commission

based upon the below market value of the sale of a medical device, this lawsuit claims that

Plaintiff is nevertheless entitled to unpaid commissions for the full value of the sale of the

medical devices.1

        During his employment, Plaintiff would submit invoices for payment of his commissions

to the company. (Pl’s depo. p. 23, l. 13-22). Plaintiff admits that in submitting the invoices for

payment that he “was honest and deducted the percentage of sales retail price. I took the same

percentage off my commission…” although Plaintiff contends his employment agreement did

not call for such a reduction. (Id. at p. 46, l. 25 to p. 47, l. 4). Plaintiff further testified as follows:

        Q.    So you would agree with me that you proportionately reduced your
        commission based upon the sale price of each unit?

        A.       Based off of what I was told, correct.

Id. at p. 47, l. 5-8.

The parties acted consistently with the foregoing proportional reduction of commission based

1
 Tenssource did not receive full payment on some machines and, therefore, no commission was paid to Cancelino.
See Declaration of Ana Vargas attached as Exhibit B.


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upon the sale price of a unit for the entirety of Plaintiff’s employment.

    III.      DISCUSSION

    A. Plaintiff’s Unpaid Commissions Claim Must be Dismissed

           Despite the foregoing, Plaintiff now contends that he is owed commissions because his

employment agreement simply provides for a flat-rate commission for the sale of certain medical

devices, without taking into consideration his selling medical devices below an established

market value. Such an assertion is belied by the Plaintiff’s own testimony, above, and is

incredulous. To extend such logic would necessarily mean that regardless of what the Plaintiff

decided to sell a medical device for, the Defendants were always obligated to pay him a minimal

sum as stated in the employment agreement, even if that meant his commission was more than

the sale price of the unit.

           It is, therefore, readily apparent that Count III of Plaintiff’s Amended Complaint cannot

withstand summary judgment and his claim must be dismissed.

           CONCLUSION

           Based on the foregoing, Defendants respectfully request that this Court enter judgment in

favor of the Defendants and dismiss Plaintiff’s claims for unpaid commissions.

                                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of July, 2020 I electronically filed the
foregoing document with the Clerk of Court using EM/ECF. I also certify that the foregoing
document is being served this day on all counsel of record or pro se parties identified on the
attached Service List in the manner specified, either via transmission of Notices of Electronic
Filing generated by CM/ECF or in some other authorized manner for those counsel or parties
who are not authorized to receive electronically Notices of Electronic Filing.


                                           By:     /s/ Patrick Gonyea
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VIA CM/ECF




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